       Case 1:24-cr-00556-DEH                    Document 131               Filed 02/18/25            Page 1 of 1



     quinn emanuel trial lawyers | new york
     295 5th Avenue, New York, New York 10016-7103 | TEL (212) 849-7000 FAX (212) 849-7100




                                                                                                    WRITER'S DIRECT DIAL NO.
                                                                                                              (212) 849-7364

                                                                                                    WRITER'S EMAIL ADDRESS
                                                                                               alexspiro@quinnemanuel.com



February 18, 2025


VIA ECF

The Honorable Dale E. Ho
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 905
New York, New York 10007


Re: U.S. v. Adams - Case No. 24-Cr-556-DEH


Dear Judge Ho:

        We write in response to the Court’s February 18, 2025, order that Mr. Adams file the
written consent referred to in the government’s motion to dismiss, Dkt. 122 at 1. Dkt. 139. The
written consent was transmitted via e-mail from Mr. Adams’s counsel to Mr. Bove on February
14, 2025, and is attached as Exhibit A to this letter.


Respectfully submitted,

/s/ Alex Spiro

Alex Spiro
William A. Burck




     quinn emanuel urquhart & sullivan, llp
     ABU DHABI | ATLANTA | AUSTIN | BEIJING | BERLIN | BOSTON | BRUSSELS | CHICAGO | DALLAS | DOHA | HAMBURG | HONG KONG | HOUSTON | LONDON |
     LOS ANGELES | MANNHEIM | MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY | SAN FRANCISCO |
     SEATTLE | SHANGHAI | SILICON VALLEY | SINGAPORE | STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | WILMINGTON | ZURICH
